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 9                             IN THE UNITED STATES DISTRICT COURT
10                           FOR THE EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,                              CASE NO. 06-CR-00313-LJO-15
13                           Plaintiff,
                                                            ORDER ON DEFENDANT’S 18 U.S.C.
14                                                          MOTION 3582(c)(2) FOR REDUCTION OF
                                                            SENTENCE
15
16   SAMNEUK BUNMA,                                         (Doc. 435.)
17                           Defendant.
                                                  /
18
19                                             INTRODUCTION
20             Defendant Samneuk Bunma (“defendant”) is a federal prisoner, proceeds pro se, and on
21   December 10, 2010, filed a motion with this Court to reduce his sentence pursuant to 18 U.S.C.
22   §3582(c)(2). This Court considered defendant’s motion on the record and denies defendant’s requested
23   relief.
24                                              BACKGROUND
25             On March 20, 2009, defendant pled guilty to violations of 21 U.S.C. §841(a)(1) and 18 U.S.C.
26   §2 – possession of marijuana with intent to distribute and aiding and abetting. On May 7, 2010, this
27   Court sentenced defendant to 27 months custody with 60 months supervised release with conditions.
28   Defendant waived his appeal rights. On December 10, 2010, defendant filed a motion seeking to reduce

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 1   his sentence pursuant to 18 U.S.C. §3582(c)(2) in light of amendments to the Federal Sentencing
 2   Guidelines that took effect on November 1, 2010.
 3                                                       DISCUSSION
 4           18 U.S.C. §3582(c)(2) allows a court to reduce an imposed term of imprisonment where a
 5   defendant’s term of imprisonment is based on a sentencing range subsequently amended by the
 6   Sentencing Commission. In applying 18 U.S.C. §3582(c)(2), a district court must follow a two-step
 7   approach: (1) the court must first determine that a reduction is consistent with the policy statements
 8   issued by the Sentencing Commission in §1B1.10 of the Federal Sentencing Guidelines; and (2) the
 9   court must then consider any applicable 18 U.S.C. §3553(a) factors and determine whether, in its
10   discretion, the authorized reduction is warranted, either in whole or in part, according to the
11   circumstances of the case. Dillon v. United States, 130 S.Ct. 2683, 2691 (2010) (interpreting 18 U.S.C.
12   §3582(c)(2)). Because the modification of an imposed prison term does not implicate the Sixth
13   Amendment and is not otherwise constitutionally mandated, proceedings under 18 U.S.C. §3582(c)(2)
14   do not trigger the application of Booker v. United States.1 Id. at 2692-93 (abrogating United States v.
15   Hicks, 472 F.3d 1167 (9th Cir. 2007)). As such, the rules and policy statements contained in §1B1.10,
16   in accordance with the requirements of 18 U.S.C. §3582(c)(2), are not merely advisory but are binding
17   on a district court. Id.
18           Defendant seeks a reduction of his sentence based on recent amendments to §5H1 and §2L1 of
19   the federal sentencing guidelines. In particular, he seeks a reduction based on Age (§5H1.1); Mental and
20   Emotional Conditions (§5H1.3); Physical Condition, Including Drug or Alcohol Dependence or Abuse;
21   Gambling Addiction; (§5H1.4); Military, Civic, Charitable, or Public Service; Employment-Related
22   Contributions; Record of Prior Good Works; (§5H1.11) and a departure based on Cultural Assimilation
23   (§2L1.2). Because such a reduction or departure would run contrary to the rules and policy statements
24   contained in §1B1.10 of the Federal Sentencing Guidelines, this Court is unable to grant such
25   modifications.
26           According to Dillon and the text of the statute, in contemplating the application of 18 U.S.C.
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                 United States v. Booker, 543 U.S. 220 (2005).

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 1   §3582(c)(2), a court must first determine that a reduction is consistent with the policy statements issued
 2   by the Sentencing Commission in §1B1.10 of the Federal Sentencing Guidelines. §1B1.10(2) states, “A
 3   reduction in defendant’s term of imprisonment is not consistent with this policy statement and therefore
 4   is not authorized by 18 U.S.C. §3582(c)(2) if: (A) none of the amendments listed in subsection (c) is
 5   applicable to the defendant; or (B) an amendment listed in subsection (c) does not have the effect of
 6   lowering the defendant’s applicable guideline range.” U.S. Sentencing Guidelines Manual §1B1.10
 7   (2010). Subsection (c) states, “Amendments covered by this policy statement are listed in Appendix C
 8   as follows: 126, 130, 156, 176, 269, 329, 341, 371, 379, 380, 433, 454, 461, 484, 490, 499, 505, 506,
 9   516, 591, 599, 606, 657, 702, 706 as amended by 711, and 715.” Id. The amendments to §5H1 under
10   which defendant seeks a reduction are all contained in amendment 739. The amendment to §2L1.2 under
11   which defendant seeks a departure is contained in amendment 740. Because neither amendment 739 nor
12   740 are covered by subsection (c) of §1B1.10, a reduction or departure based on these amendments
13   would not comport with §1B1.10 or 18 U.S.C. §3582(c)(2). Because §1B1.10 and 18 U.S.C. §3582(c)(2)
14   are both binding on this Court, the Court is unable to grant such a reduction or departure.
15                                      CONCLUSION AND ORDER
16          For the reasons discussed above, this Court DENIES defendant relief under 18 U.S.C.
17   §3582(c)(2).
18          IT IS SO ORDERED.
19   Dated:     December 14, 2010                      /s/ Lawrence J. O'Neill
     66h44d                                        UNITED STATES DISTRICT JUDGE
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